Case 2:09-cr-00222         Document 1508        Filed 04/08/10      Page 1 of 5 PageID #: 8223




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    CRIMINAL ACTION NO. 2:09-cr-00222

DAVID KEITH BARBEITO, et al.,

                               Defendants.



                          MEMORANDUM OPINION AND ORDER


       Before the Court for consideration are Defendant Elmer Luke Moore’s Motion to Enforce

Public Trial Rights and to Dissolve Restricted Access to Documents [Docket 909], joined by

Defendants Thomas E. Geer [Docket 921], Martin Craig Nuss [Docket 926], and orally by David

Keith Barbeito [Docket 1416]; and Defendant Joseph Frank Cotton’s Motion to Enforce Public Trial

Rights and to Dissolve Restricted Access to Documents [Docket 936]. The Government filed a

response in opposition [Docket 1047], and the Court heard oral argument at a pretrial motions

hearing on March 15, 2010 [Docket 1416]. The matter now being fully briefed and argued, the issue

is ripe for the Court’s consideration.

       On October 30, 2009, the Court entered a Memorandum Opinion and Protective Order

pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure. (Docket 539.) Therein, the

Court found that certain restrictions on the dissemination of discovery materials were “in the

interests of witness security,” that the restrictions would not unduly interfere with the defendants’

right to meaningful communication with their counsel, and that any inconvenience caused by these
Case 2:09-cr-00222         Document 1508         Filed 04/08/10       Page 2 of 5 PageID #: 8224




restrictions was outweighed by the very real risks presented by the free dissemination of discovery

materials. (Id.)

       Defendants now seek dissolution of this Protective Order. In these motions, Defendants

argue that the order is no longer necessary because most of the confidential informants’ names are

now in the public domain, because the order creates a hardship on defendants working with their

attorneys on their cases, and because it infringes on their public trial rights. (Dockets 909, 936,

Pretrial Motions Hrg.) The Court will address each of these arguments in turn.

       1. Continued Usefulness of the Order

       Defendants argued, both in their motions and at the March 15, 2010 hearing, that the names

of the confidential informants sought to be protected by the Protective Order are now well known,

both in newspapers and on the internet. The Government responds by saying that protecting the

identities of the confidential informants was not the sole basis for the Protective Order—instead, the

purpose was to prevent the dissemination of papers that could be used to confirm any suspicions or

rumors and later to retaliate against or threaten the informants.

       Although aware of the significant speculation surrounding the identity of the various

confidential informants in this case, the Court finds that the Protective Order is still useful. As the

Government points out, until the identities of the confidential informants are confirmed, they remain

pure speculation. Restricting the dissemination of certain discovery materials in this case serves to

prevent those documents from becoming available and further jeopardizing the safety of these

individuals.

       The Court would note that it knew of the use of documents to intimidate or punish those

cooperating with the Government in the initial briefing requesting a protective order. (Docket 299


                                                  2
Case 2:09-cr-00222         Document 1508         Filed 04/08/10       Page 3 of 5 PageID #: 8225




at 3-4.) No evidence has been presented to indicate that this threat has diminished. To the contrary,

the Government asserts that the Pagan Motorcycle Club frequently uses documents to confirm the

identities of accused “snitches” and “rats,” making the dissemination of documents all the more

dangerous now that their identities are suspected. Seeing no diminution in the threat to witnesses

that formed the basis for the Protective Order, the Court declines to dissolve the Protective Order

on this basis.

         2. Hardship on Defendants when Preparing for Trial

         Defendants next argue that the Protective Order places “a substantial burden” on Defendants,

and that the contours of the Protective Order prove “not workable or feasible” with clients who are

currently incarcerated (Docket 909 at 2), or who live far away (Docket 936 at 2). While there were

speculations of these concerns prior to the entry of the Protective Order, all objections on that basis

alone were purely theoretical.      Still, the Court found that the restrictions would not harm

Defendants’ substantive rights to consult with their attorneys in preparing their defense. (Docket

539 at 4 (“However, any such inconvenience would not appear to rise to a level that would

compromise Defendants’ substantive rights.”).) Morever, the Court found that “such inconvenience

is outweighed by the mitigation of the dangers unfettered disclosure would present.” (Docket 539

at 4.)

         Now with anecdotal evidence of the burdens caused by the Protective Order, the Court

remains convinced that the burdens are not so onerous as to constitute a violation of Defendants’ due

process rights or right to counsel. To be sure, the location of Defendants, either in jail or outside

the state, undoubtedly places a higher burden on some counsel than others. However, the Court

finds that the burden of additional time or money does not outweigh the risk presented to


                                                  3
Case 2:09-cr-00222        Document 1508         Filed 04/08/10      Page 4 of 5 PageID #: 8226




confidential informants and other cooperating witnesses were the information allowed to be

photocopied and disseminated.

       The Court would note several mitigating circumstances that were considered in reaching this

conclusion. First, all discovery is not considered “Restricted Access.” Pursuant to paragraph 3 of

the Protective Order, the Government must identify “only those discovery items that contain or

reference the identity of confidential government informants.” (Docket 539 at 4.) Hence,

Defendants may review at least some of the discovery outside the presence of their counsel. Second,

procedures are available to challenge what Defendants believe is improper characterization of

discovery as “restricted access.” (Docket 539 at 5.) Finally, other means may be available to

combat the hardships posed by defendants who are presently incarcerated or living out of state.

These concerns, however, should be addressed on an individualized basis, not by invalidating the

entire Protective Order. The danger to the confidential informants and cooperating witnesses

depends on only one defendant disseminating paper, and thus it is inappropriate to address

individualized problems with the Protective Order restrictions by dissolving the entire order.

       The Court refuses to dissolve the Protective Order on this basis.

       3. Public Trial Rights

       Finally, Defendants challenge the Protective Order arguing that it infringes on their public

trial rights. The Government responded to this by asserting that all proceedings in this case have

been public and that Defendants will still have a public and open trial. The Court finds no merit in

Defendants’ contention on this point. During the pretrial motions hearing, the Court acknowledged

that the trial would be public and that much of the information presently covered by the Protective




                                                 4
Case 2:09-cr-00222          Document 1508         Filed 04/08/10   Page 5 of 5 PageID #: 8227




Order would be introduced at that time. Defendants have not shown how the Protective Order

interferes with their right to a public trial.

        4. Conclusion

        For the reasons stated above, Defendant Elmer Luke Moore’s Motion to Enforce Public Trial

rights and to Dissolve Restricted Access to Documents [Docket 909] and Defendant Joseph Frank

Cotton’s Motion to Enforce Public Trial Rights and to Dissolve Restricted Access to Documents

[Docket 936] are DENIED.

        IT IS SO ORDERED.

        The Court DIRECTS the Clerk to send a copy of this Order to Defendants and counsel, and

the United States Attorney.

                                                 ENTER:      April 8, 2010




                                                   5
